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 7                               UNITED STATES DISTRICT COURT
 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                      )   Case No.: Cr.S-08-0292-LKK
                                                    )
11                  Plaintiff,                      )   ORDER TO CONTINUE STATUS
                                                    )   CONFERENCE
12          vs.                                     )
                                                    )
13   Armando Perez, et.al.,                         )   DATE: December 8, 2008
                                                    )   TIME: 9:15 a.m.
14                  Defendant                       )
                                                        JUDGE: Hon. Lawrence K. Karlton
                                                    )
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            GOOD CAUSE APPEARING, the Status Conference, now set for December 8, 2009 at
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     9:15 a.m. is continued to January 26, 2010 at 9:15 a.m.. Time is excluded from December 8,
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     2009 through and including January 26, 2010 in the interests of justice pursuant to 18 U.S.C. §
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23   3161 (h) (7) (B) (iv) [reasonable time to prepare] and Local Code T4.

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 1   IT IS SO ORDERED.
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 3   Dated:   December 3, 2009

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